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                EXHIBIT C
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                                                                         Page 1

1       UNITED STATES BANKRUPTCY COURT
2       DISTRICT OF DELAWARE
3
4
5       In re:                                :
                                              :     Chapter 11
6       ENERGY FUTURE HOLDINGS                :
        CORP., et al.,                        :     Case No. 14-10979(CSS)
7                                             :
                    Debtors.                  :     (Jointly Administered)
8       _____________________________ :
9
10
11
12
13                                     United States Bankruptcy Court
14                                     824 North Market Street
15                                     Wilmington, Delaware
16
17                                     August 17, 2016
18                                     10:04 AM - 5:22 PM
19
20
21      B E F O R E :
22      HON CHRISTOPHER S. SONTCHI
23      U.S. BANKRUPTCY JUDGE
24
25      ECR OPERATOR:    LESLIE MURIN

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                                                                           Page 138

1       Q     Yes.

2       A     -- the Hunt plan as we refer to it.

3       Q     The confirmed plan, yes, sir.

4             And if you could turn to -- on page 11 of 115.                And if

5       we could put that on the screen.

6             And, sir, you see that same definition, number 56 of

7       contribution.

8       A     It's -- it's the same except that it also embodies EFH

9       properties at this time.

10      Q     All right.    So the confirmed plan contemplated the

11      transfer of equity of both corporate services and EFH

12      properties?

13      A     Yes.    The original plan in '15, we were still

14      evaluating properties because properties was not a debtor to

15      the case and we were understanding our ability to file them

16      and potentially received some monies back from the lessor of

17      the property.

18            We decided that that was not a likely outcome and,

19      therefore, decided that the only way to get rid of it,

20      economically, was the same way we dealt with corporate

21      services.

22      Q     All right.    And that -- and that determination was made

23      before the -- the -- for the plan that was -- that became

24      the confirmed plan; is that correct?

25      A     Yes.    Somewhere in between the original plan and then I

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